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                  IN THE UNITED STATES COURT OF APPEALS
                         FOR THE SEVENTH CIRCUIT


No. 21-1093

UNITED STATES OF AMERICA,
                                                                        Plaintiff-Appellee,
                                          v.
GARY L. BOYLE,
                                                                   Defendant-Appellant.



                 Appeal from the United States District Court for the
                             Central District of Illinois

                  THE HONORABLE JAMES E. SHADID, JUDGE
                        No. 2:19-cr-20019-MMM-EIL-1



                    BRIEF AND REQUIRED SHORT APPENDIX
                        FOR DEFENDANT-APPELLANT



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                                  Disclosure Statement


       The undersigned counsel of record for Defendant-Appellant, Gary L. Boyle,

furnishes the following list in compliance with Fed. R. App. P. 26.1 and Circuit Rule 26.1:

1.     The full name of the only party is Gary L. Boyle;

2.     Gary L. Boyle is a natural person and not a corporation;

3.     In the District Court, Mr. Boyle was represented by Assistant Federal Public

       Defender Elisabeth R. Pollock, Urbana, IL. AFPD Pollock, after timely docketing

       this appeal, was granted leave to withdraw as counsel; thereafter Attorney Lew A.

       Wasserman was appointed to brief and argue the appeal on behalf of Mr. Boyle.

       Dated this 20th Day of May 2021:

       Law Offices of Lew A. Wasserman, S.C.,

         Electronically signed by: Lew A. Wasserman

       Lew A. Wasserman SBN 1019200
       Attorney for Defendant - Appellant Gary L. Boyle




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          I.        The sentence imposed by the district court was procedurally
                    unreasonable in that:

                    A.        The court simultaneously considered Boyle’s state court
                              charges as offense conduct, as relevant conduct, and as a
                              component of Boyle’s criminal history; that conflation
                              erroneously increased both Boyle’s offense level computation,
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                              with applicable guidelines. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

                    B.        It was procedurally unreasonable for the court to fail to
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                                 Jurisdictional Statement

       This is a direct appeal from the United States District Court for the Central District

of Illinois. On March 6, 2019, an eight-count indictment, 19-cr-20019 was filed (unsealed

March 20, 2019), in the United States District Court for the Central District of Illinois.

Counts One through Seven, alleged that on or about February 4, 2019, in Macon County,

in the Central District of Illinois, and elsewhere, Boyle committed acts in violation of Title

18, United States Code, Section 2251(a) and (e) (sexual exploitation of a child). Count Eight

alleged a violation of Title 18, United States Code, Sections 2252A(a)(5)(B) and (b)(2)

(possession of child pornography), occurring on or about February 21, 2019.

       The district court’s jurisdiction was properly based upon 18 U.S.C. §3231, which

confers jurisdiction over criminal violations of the United States Code. Mr. Boyle

entered a plea of guilty to all eight counts, without a plea agreement; sentencing

occurred on January 14, 2021. The final judgment was entered on January 19, 2021.

(ECF 67; App.1-7).

       A timely Notice of Appeal was filed on January 19, 2021 (ECF 70). Appellate

jurisdiction exists pursuant to 28 U.S.C. §1291 and 18 U.S.C. §3742(a) because the

judgment being appealed is a final judgment entered by a district court within this

Circuit.

                               Issues Presented for Review

I.     Whether the sentence imposed by the district court was procedurally unreasonable

       in that:

       A.      The court did not apply the correct sentencing guideline(s) in imposing a

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              sentence upon an individual serving an undischarged [state] term of

              imprisonment, and,

       B.     The court did not properly weigh the relevant factors when it chose to

              impose a consecutive sentence of 600 months - 50 years - to a person serving

              recently imposed state term of 40-years’ imprisonment for a state crime that

              this federal prosecution considered as both relevant conduct and criminal

              history.

II.    Whether the sentence of 600 months - 50 years - to be served consecutively to an

       undischarged (and recently imposed) term of 40-years imprisonment is

       substantively unreasonable; the sentence, even assuming Boyle would only serve

       85% of the 90 years - would not afford release until Boyle attains the age of 108.

                                   Statement of the Case

       This is a direct appeal from the United States District Court for the Central District

of Illinois. Mr. Boyle entered into a open plea of guilty to all 8 counts of the indictment, the

first seven of which alleged violations of 18 U.S.C. §2251(a) and (e), sexual exploitation of

a child. The open plea (no plea agreement) allowed Mr. Boyle to appeal the district court’s

sentence, which he does herein. On January 14, 2021, The Honorable James E. Shadid

imposed a sentence of 600 months (50 years) imprisonment to run consecutively to the

undischarged state sentence, imposed September 2, 2020, of 40 years, Mr. Boyle was

serving in case number 19-CF-300 in the Circuit Court for Macon County, Illinois.

       The final judgment was entered on January 19, 2021. (ECF 67; App. 1-7). Mr. Boyle

timely filed his Notice of Appeal on January 19, 2021. (ECF 70).

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       Gary L. Boyle was indicted on March 6, 2019 (ECF 1; 2:19-cr-20019-MMM-EIL), with

seven counts of enticing and coercing a minor to engage in sexually explicit conduct, which

Boyle captured visually, and which Boyle distributed online. All seven counts alleged that

the seven separate violations of 18 U.S.C. §§ 2251(a) and (e), occurred on February 4, 2019,

“in Macon County, in the Central District of Illinois, and elsewhere.”

       An eighth count charged Boyle with Possession of Child Pornography, contrary to

18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2), alleged to have occurred on February 21, 2019, “in

Macon County, in the Central District of Illinois.”

       Boyle never challenged the allegations; by September 16, 2020, he was ready to

enter his change of pleas, without a plea agreement. Boyle consented to enter, and did

enter, his pleas before Magistrate Judge Eric Long. (ECF 75:4 (Transcript)). During the plea

colloquy (and there is no challenge to the sufficiency) the court asked the government to

relate what the government would have to prove to convict Boyle of these charges (ECF

75:14-15), and to relate the potential penalty structure (ECF 75:16). The government

asserted, “Counts 1 through 7, the sexual exploitation charges, are Class B felonies. They

carry no less than 15 years up to 30 years imprisonment each; a maximum $250,000 fine;

no less than five years up to life on supervised release.” As to count 8, “Possession of child

pornography of a prepubescent minor, or one that's under 12, is a Class C felony. It's a

maximum 20 years imprisonment; maximum $250,000 fine; no less than five years up to

life on supervised release.” (ECF 75:16). The government explained that if all sentences ran

consecutively, Boyle faced a maximum of 230 years imprisonment (ECF 75:17).

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       After additional discussions, the government was asked whether there had been

“any formal plea agreement offers in this case,” to which the Boyle’s counsel responded,

“There was a written plea agreement proposed in part prior to his State Court sentence

being imposed. That has been reviewed with Mr. Boyle and rejected in favor of an open

plea.” Boyle agreed. (ECF 75:20-21).

       In response to a request for clarification by the Magistrate Judge, the government

explained that on February 14, 2019, it was reported that a user, later identified as Boyle,

was transmitting child exploitation material on Kik, a smartphone messenger application.

A Department of Homeland Security Agent determined that the images depicted the same

minor female - “definitely under 10 years old,” and that the transmission of the images and

videos occurred on February 4, 2019. “So they’re all on the same day but different images,

different videos.” (ECF 75:22-23). The details of the depictions can be found in the

transcript at ECF 75:23-25, see United States v. Nania, 724 F.3d 824, 828 (7th Cir. 2013). The

government related that the defendant’s cell phone - seized during the execution of a

search warrant on February 21, 2019, contained additional images of child exploitation

material; the basis for count 8. (ECF 75:26).

       The government then related that in a recorded interview, Boyle admitted that the

February 4, 2019, acts were “with                                                    .” Boyle

admitted that he live-streamed the sexual abuse of this child to other individuals on the

Kik Messenger group on that day. (ECF 75:27). Boyle stated that he agreed with all of the

facts stated by the government (ECF 75:28). Boyle’s pleas of guilty were accepted and

entered. (ECF 51, 53). A Pre-sentence Report, and Objections thereto, if any, were ordered

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and scheduled. (ECF 51-52).

       On January 4, 2020, the Presentence Investigation Report was filed. (ECF 60, herein

after, “PSR”). Relevant to this appeal, the term “relevant conduct” appears but twice in the

PSR; critically, at page 6, paragraph 16, the PSR avers:

       On February 4, 2019, user “amber.1516 2qv” utilized IP address 67.162.35.232 (later
       identified as Gary Boyle’s residence). During a conversation in the LFD group on
       February 4, 2019, “amber.1516 2qv” posted four images and three videos that
       contained child pornography. The minor victim, who is approximately 8 years of
       age, appears to be the same minor victim in each of the images listed below. The
       images and videos are described below. (Relevant Conduct)



The “described below” reference in that last paragraph is then followed by relating the

specific factual basis for counts 1 - 7 of the indictment. PSR, ¶16, a-g. Thus, it appears that

the PSR incorporates the underlying facts supporting the indictment as both relevant

conduct and offense conduct, as to counts 1 - 7.

       The incorporation of the underlying facts as both relevant and offense conduct is

repeated in the PSR in additional sections; in relating what Boyle told case agents, the PSR,

at ¶24, page 8, related:

       Boyle said he live-streamed                   abuse only once and that was on
       February 4, 2019, and later indicated that was the one single occasion that this
       conduct occurred. However, on July 28, 2020, the defendant pled guilty to
       Predatory Criminal Sexual Assault of a Child in Macon County, Illinois, Circuit
       Court Case No. 19-CF-300. In that case, the Indictment charged that between
       October 10, 2010, and February 3, 2019, the defendant, who was over 17 years of
       age, knowingly committed an act of sexual penetration with                  (DOB
              2010), who was under the age of 13 at the time of the offense, in that he
       placed his penis in the vagina of      for the purpose of sexual gratification or
       arousal of the victim or the defendant. Boyle also admitted to trading child
       pornography directly with others in exchange for other child pornography images.



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       As developed more fully in the below Arguments, the above paragraph

incorporates into offense conduct Boyle’s state court criminal conviction - with the same

victim as in the federal indictment - which the PSR also incorporates into the criminal

history score, raising the subtotal score from 2 to 5 points. (ECF 60, ¶120).

       Contrary to the government’s Commentary (see below), the PSR found that Boyle

had not obstructed justice during the prosecution (PSR, ¶30), and that Boyle, “clearly

demonstrated acceptance of responsibility.” (PSR ¶¶31, 109-110)(awarding a 3-level

decrease). The total offense level, after all adjustments, increases and decreases, was 43

(PSR, ¶111).

       Boyle’s subtotal criminal history score was 5 (PSR, ¶121), but as noted in Boyle’s

Sentencing Memorandum (see below), 3 of those points, as noted in ¶120, were based upon

the Macon County Circuit Court case, 19-CF-300, already extensively discussed above,

wherein Boyle was sentenced to 40 years incarceration on September 2, 2020. So there is

no mistake, the sexual abuse allegations that Boyle pled to in state court concerned the

same victim as in the instant first seven counts of the indictment (see, for example, PSR

¶¶181-182).

       Finally, the PSR does not discuss whether the guidelines, or any other statutory or

case law authorities, instruct or advise as to whether, or not, the federal sentence herein

should or may be concurrent or consecutive to the Macon County, Illinois, sentence

imposed on September 2, 2020. Nevertheless, it is clear that what occurred on February 4,

2019, at least as concerns the assertions in the PSR, is treated, globally, as offense conduct,

as relevant conduct, and as criminal history.

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      On January 11, 2020, the government filed a 17-page Commentary in support of a

life imprisonment sentence. (ECF 62). There being no plea agreement or recommendation

to support, the Commentary doesn’t find any mitigating factors. Only in the Conclusion

does the government cite to U.S.S.G. 5G1.2(d)1, but without discussion or argument, to

support the demand that the instant sentences all run consecutive to each other. Perhaps

because the government in the Commentary was asking for the imposition of a 2,760

month guidelines sentence, it didn’t bother to discuss whether, or not, there was any

provision in the guidelines for imposing the federal sentence consecutive to the state

sentence of 40 years Boyle received on September 2, 2020.

      The Commentary, like the PSR, does not cite to U.S.S.G. § 5G1.3 - Imposition of a

Sentence on a Defendant Subject to an Undischarged Term of Imprisonment or Anticipated

State Term of Imprisonment, to support its demand for a life sentence.

      On January 12, 2021, Boyle filed his Sentencing Memorandum (ECF 63), which

asserted, inter alia, that, “At the time of his indictment, he was also charged in Macon

County Circuit Court with 16 counts related to the same conduct, specifically: predatory

criminal sexual assault/victim under age 13, aggravated criminal sexual abuse/victim




      1

      (d) If the sentence imposed on the count carrying the highest statutory maximum
      is less than the total punishment, then the sentence imposed on one or more of the
      other counts shall run consecutively, but only to the extent necessary to produce
      a combined sentence equal to the total punishment. In all other respects, sentences
      on all counts shall run concurrently, except to the extent otherwise required by law.

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under age 13, and criminal sexual assault/family member.”2 The Memorandum continues,

at ECF 63:2:

      At the conclusion of his state case, Mr. Boyle pled guilty to one count of predatory
      criminal sexual assault/victim under age 13 in violation of 720 ILCS 5/11-1.40 and
      was sentenced to a term of 40 years of imprisonment in the Illinois Department of
      Corrections.3



      The Memorandum details why a sentence concurrent to the state court proceeding

and sentence was appropriate, although it does not reference any guidelines authority,

such as U.S.S.G. § 5G1.3, supporting that request. The Memorandum does note that Boyle’s

criminal history was skewed by counting the Illinois state conviction for “the same

conduct” but does not object to that counting.

      Sentencing occurred on January 14, 2021. See, ECF 73 - Transcript. As an initial

matter, Boyle avers that the term, “relevant conduct” does not appear in the transcript;

there is no parsing out, in the guidelines calculations what was relevant conduct, which

perhaps reflects that the guideline sentencing recommendation is far above the statutory

      2

       Boyle cited (ECF 63:1) to the Macon County case record; it was revealed that the
      state case was filed on February 28, 2019; sentencing occurred on September 2, 2020.
      3

      (720 ILCS 5/11-1.40): Sec. 11-1.40. Predatory criminal sexual assault of a child.
         (a) A person commits predatory criminal sexual assault of a child if that person
      is 17 years of age or older, and commits an act of contact, however slight, between
      the sex organ or anus of one person and the part of the body of another for the
      purpose of sexual gratification or arousal of the victim or the accused, or an act of
      sexual penetration, and:
         (1) the victim is under 13 years of age;
         (b) Sentence.
            (1) A person convicted of a violation of subsection (a) (1) commits a Class X
      felony, for which the person shall be sentenced to a term of imprisonment of not
      less than 6 years and not more than 60 years.

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maximums before the court. (Tr., p. 4-5).

       The government, citing to 3553(a), recommended a life sentence, (Tr., p. 15),

specifically arguing against concurrent time with the 40 year state sentence, and noting

that the state sentence encompassed conduct against             that was more extensive than

charged in the indictment. (Tr., p. 16). The government requested a 2,760 month - 230 year

- sentence. (Tr., p. 17). The district court asked the government to supply, “one argument

for the consecutive nature of the sentence.” (Id.) As the court noted, to get to 2,760 months,

the sentences in counts 1 - 7 would have to run consecutive to each other. (Tr., p. 18). The

court said, “I understand the argument for consecutive to the state court case.” (Tr., p. 18).

The government responded that to effectuate the guidelines recommended sentence,

consecutive time would be necessary. (Id.). The government acknowledged that the seven

counts related to conduct, “albeit on the same day,” but nevertheless separate punishments

were warranted. (Tr., p. 18-19).

       Boyle’s counsel advocated for a sentence concurrent to the 40-year state sentence,

but did not cite to guidelines provisions, if any, supporting that request. (Tr., p. 19 - 25).

Counsel noted that Boyle was 36, almost 37 years old, thus (in so many words) his federal

sentence, if consecutive would not begin until Boyle was well into his 70's.4 Counsel asked

       4

         The Illinois DOC offender information site reveals that Boyle’s projected parole
       date is 2/21/2053; he would then be 68 years old, if he merits parole on that date.
       See, https://www2.illinois.gov/idoc/Offender/pages/inmatesearch.aspx
       accessed 5/18/2021. Boyle is presently incarcerated at Menard Correctional Center,
       Menard, Illinois. The projected parole date is based, in part, upon Boyle receiving
       a maximum of 4.5 days of good conduct credit for each month of his sentence of
       imprisonment, meaning he will serve approximately eighty-five percent of his 40-
       year sentence. 730 ILCS 5/3-6-3(a)(2)(ii).

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the court to consider whether Boyle deserved to breath free air after spending 40 years in

prison; 40 years was not some slap on the wrist. (Tr., p. 24 - 25).

       The court considered counsel’s question, and said, “No.” (ECF 73, p.28; App. 109)

The court noted it did not have to impose a sentence of 2,760 months, “to accomplish the

goals of sufficient but not greater than necessary to comply with the purpose of the Act.

(Referring to 18 U.S.C. § 3553(a); ECF 73, p. 27-28)(App. 108-09). The court found that a

sentence of 360 months or 30 years was appropriate for counts 1 - 7; the court found that

it would not be appropriate to impose consecutive sentences in those counts (although it

would be “acceptable”). (ECF 73, p. 31)(App. 112). As to count 8:

       Count 8 sets forth a completely different count on a completely different day and
       a completely different time period; to subject other young people who have been
       abused to the perverted and distorted and sick nature of those seeking the internet
       for their satisfaction. So I believe a sentence of 20 years or 240 months on Count 8
       is appropriate and that should run consecutive -- that should run consecutive to
       Counts 1 through 7. So that is 600 months or 50 years. (Tr., at 31-32)(App. 112-13).



Then, without further discussion or citation to authority:

       And there could be no question that the conduct in 19-CF-300, the sexual predator
       conviction of a child under 13, for which he received 40 years, was a separate course
       of conduct; and, therefore, the 600 months imposed shall run consecutive to the
       Macon County case in 19-CF-300.

       If he served that entire sentence, that would be a sentence of 90 years or nearly 90
       years. If he manages to live to be a 126 years old, then he can have that fresh air
       that he requests today. (Tr., at 32)(App. 113).



       Additional facts, with citations to the record, will be supplied as necessary to

develop the arguments that follow.



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                               Summary of the Argument

       The district court committed procedural error in calculating the appropriate

sentence. First, the court mis-categorized the relationship between count 8, and the seven

preceding sexual exploitation counts. The court found that count 8 was a different count,

which is true, however it is not accurate to describe count 8 as occurring on a different day

(from February 4, 2019), nor as a completely different time period. There being no other

substantial basis for imposing the sentence in count 8 consecutive to that in counts 1 - 7,

the court erred, and Boyle is entitled to re-sentencing.

       The court further erred in ordering that the global sentence of 600 months run

consecutive to the 40-year state sentence in two ways; first, the state conviction does not,

as the court mistakenly found, encompass a separate course of conduct (indeed, the PSR

treats all this conduct as relevant conduct); and second, the court failed to consider

whether U.S.C.G. 5G1.3 - Imposition of a Sentence on a Defendant Subject to an

Undischarged Term of Imprisonment or Anticipated State Term of Imprisonment,

recommends concurrent sentences in this instance, as Boyle asserts would be authorized

under 5G1.3(b) or ( c).

       Second, The district court further erred in imposing the global sentence consecutive

to the state court sentence, by inadequately explaining why consistent with the § 3553(a)

factors.

       Moreover, the 600-month/50-year sentence imposed to run consecutively to a

sentence of 40-years (that was imposed on 9/2/2020) is substantively unreasonable in light

of Mr. Boyle’s age. Assuming that Boyle will earn release after serving 85% of the 90 years

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incarceration, he would then be 113 years old. Thus it is unnecessary to proffer statistics

or tables or projections of whether Boyle will ‘outlive’ this sentence; it is undeniably “de

facto life.”

                                     Standard of Review

         The review of the procedural challenge is de novo but review of the substantive

challenge is for abuse of discretion. United States v. Vallar, 635 F.3d 271, 277–78 (7th

Cir.2011). There is a presumption that a within-guidelines sentence is reasonable. United

States v. Mykytiuk, 415 F.3d 606, 607 (7th Cir. 2005).



                                         Arguments

         I.       The sentence imposed by the district court was procedurally
                  unreasonable in that:

                  A.    The court simultaneously considered Boyle’s state court
                        charges as offense conduct, as relevant conduct, and as a
                        component of Boyle’s criminal history; that conflation
                        erroneously increased both Boyle’s offense level computation,
                        and Boyle’s criminal history score, which does not comport
                        with applicable guidelines.


         No doubt untangling the factual nexus between the eight counts in this indictment

and the conduct for which Boyle was convicted in Illinois state court was daunting, but it

is hard to see how the court apparently missed that it was triple-counting the events of

February 4, 2019. Conduct can be relevant conduct, or a prior sentence, but not both, or

neither. See U.S.S.G. § 4A1.2 cmt. n. 1.; United States v. Nania, 724 F.3d 824, 833 (7th Cir.

2013).

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       As noted herein above, the PSR supplies the term “relevant conduct” in only two

places, paragraphs 15, and 16. What is described as relevant conduct in paragraph 15 is the

sending, on February 3, 2019, by a Kik user (not Boyle, says the PSR), of a one-minute, 59

second movie that contained images (stills, presumptively), and videos containing the

sexual exploitation of 6 - 7 year old females. While the PSR isn’t entirely clear in describing

how agents discovered this video, the only logical conclusion, in context, is that the video

was found on Boyle’s cell phone, seized upon Boyle’s arrest on February 21, 2019. (PSR,

¶2). Since the only count in the indictment charging Boyle with possession of child

pornography is count 8, the assumption (although unstated in the PSR), is that this

described relevant conduct trails the offense conduct in count 8, although this conduct

could be relevant conduct to the first seven counts. Again, this confusion is

understandable, but the logical conclusion is that Boyle’s capture of child pornography

that occurred before the discovery of Boyle’s cell phone cache on February 21, 2019, was

treated as relevant conduct, unspecified as to which of the 8 counts it was intended to

supplement.

       Further, the PSR, ¶24, notes that Boyle’s state court conviction was for Predatory

Criminal Sexual Assault of a Child, that occurred between October 10, 20105 and February

3, 2019; and that Boyle admitted to directly trading child pornography with others. This

state court prosecuted conduct isn’t denominated as relevant conduct for any specific count

in the instant indictment, but       is the victim in the state conviction, in the first seven

       5

       PSR, ¶24, notes that
                                           .

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counts of the indictment, and one would have to assume, at least in part (agents discovered

over 100 images), concerning count 8.

       Paragraph 16 of the PSR, describing the pornography sharing process employed by

Boyle, is ‘relevant conduct’ concerning counts 1 - 7 of the indictment. That’s curious, as the

charged sexually explicit conduct must be “for the purpose of producing” and transmitting

the conduct, live conduct here, in interstate commerce, etc.

       In criminal cases, the district court shall determine the kinds of sentence and the

guideline range. See 18 U.S.C. 3553(a)(3), (4). The district court shall apply the provisions

of the Federal Sentencing Guideline Manual in determining the appropriate range and

kind of sentence. See U.S.S.G. §1B1.1. The sentencing guidelines are advisory. United States

v. Booker, 543 U.S. 220, 245 (2005). However, the sentencing judge must first correctly

calculate the advisory guideline range and then, based on the sentencing factors set out in

18 U.S.C. §3553(a), decide whether to impose a sentence within that range. United States

v. Orozco-Vaquez, 469 F.3d 1101, 1107 (7th Cir. 2006).

       Herein, the indictment, in counts 1 - 7, charges a single day’s course of conduct as

separate acts. That ambiguity (as in potential multiplicity) was apparently sufficient for the

judge to impose the sentences concurrently as to each other. But given the nature of the

February 4, 2019, acts, it is hard to see why the court found that the state acts for which

Boyle was convicted were a ‘separate course of conduct,’ warranting imposing the federal

sentence consecutive to the state’s 40 year term.

       The distinctions between the state prosecuted acts and the first seven counts of the



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federal indictment are neither spatial nor in any significant way temporal. See, United States

v. Womack, 654 F.2d 1034, 1041 (5th Cir. 1981). Count 8 of the indictment is a little more

distinct, however the device on which the child pornography was discovered was the same

device used on February 4, 2019, to produce and distribute the pornography that was

charged as counts 1 - 7, (PSR, ¶19) and apparently used in the same location (that’s how

authorities figured out it was Boyle).

       The PSR describes the state crimes as “specific offense characteristics” of count 8

(PSR, ¶97, “For approximately three years, the defendant engaged in sexual acts with

          ”). The global legal theory is that Boyle sexually exploited       ; perhaps that’s

why the PSR conflates offense characteristics, relevant conduct, and criminal history score,

in all counts and with the state court offense. The court did the same, but failed to account

for the unavoidable nexus between all of Boyle’s illegal acts.

              B.     It was procedurally unreasonable for the court to fail to
                     consider, at all, the provisions of U.S.S.G. § 5G1.3, when
                     ordering that the 600 month federal sentence be served
                     consecutive to the 40-year Illinois conviction.


       As noted above, this applicable guidelines provision doesn’t appear anywhere in

the PSR, in the government’s sentencing Comment, or even in the defendant’s

Memorandum. But nevertheless it appears to be legal error for the court to fail to properly

consider an applicable guidelines provision. United States v. Garner, 454 F.3d 743, 747 (7th

Cir. 2006);   Hawkins v. United States, 706 F.3d 820, 826-27 (7th Cir. 2013)(Rovner,

dissenting)(Both before and after Booker, the first step in sentencing was and is for the



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sentencing judge to begin the sentencing proceeding by correctly calculating the applicable

Guidelines range. See Gall v. United States, 552 U.S. 38, 49, 128 S.Ct. 586, 169 L.Ed.2d 445

(2007). This was "step one" before Booker and remains "step one" now.).

       At this point, Boyle might just submit a copy of United States v. Nania, 724 F.3d 824

(7th Cir. 2013), and say, just read this. Nania is a roadmap for how district courts should

analyze § 5G1.3(b) and ( c) issues, but at least in Nania the district court conducted an

analysis. See, id, at 833. What our district court judge should have started with was,

“whether all the conduct that led to any of [Boyle’s] state sentences was also relevant

conduct to his federal offense.” 724 F.3d 832-33. Nania holds that Boyle shoulders that

burden. Id.

       Reduced to it’s essence, Nania, supra, counsels that, “Section 5G1.3(b) would

recommend that [Boyle’s] federal sentence run concurrently with any of his state sentences

for which the underlying conduct met two requirements: (1) all the conduct involved in

the state offense was “relevant conduct” to [Boyle’s] federal offense; and (2) all the conduct

involved in the state offense increased [Boyle’s] federal offense level. See U.S.S.G. §

5G1.3(b) & cmt. n. 2(A).”

       So the first question is whether all the conduct that lead to Boyle’s state sentence

was relevant conduct to his federal offense. 724 F.3d 832-33. There doesn’t appear to be any

question that      was the victim in the state case, and that       was the victim in counts

1 - 7 in the federal case. Count 8 is possession of child pornography, and it is clear that

Boyle produced and transmitted the videos and images alleged in counts 1 - 7 on the cell



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phone that also contained 100 images of child pornography forming the factual basis for

count 8. (PSR, ¶¶19, 99). In other words, the same cell phone was used by Boyle for all of

the acts that lead to all of the counts in the indictment. And while there may be other

victims’ images on the cell phone seized from Boyle, there certainly, at all times relevant

to each count of the indictment, were images and videos of                  That appears to supply

the ‘overlapped’ threshold. 724 F.3d at 832.

         Then, at PSR, ¶97, detailing Specific Offense Characteristics concerning count 8, the

agent wrote:

         Specific Offense Characteristics: Defendant Boyle engaged in a pattern of activity
         involving the sexual abuse or exploitation of a minor. For approximately three
         years, the defendant engaged in sexual acts with                   . Defendant Boyle
         live-streamed the sexual abuse on the Kik Messenger application and shared
         images of the sexual abuse there as well. Therefore, a five-level increase is applied.
         U.S.S.G. §.2G2.2(b)(5).



         At PSR, ¶108, the agent detailed, again, acts for which Boyle was convicted and

sentenced in state court, to support an additional enhancement to the combined offense

level:

         Chapter Four Enhancement: The offense of conviction is a covered sex crime,
         neither §4B1.1 (Career Offender) nor subsection (a) of §4B1.5 applies, and the
         defendant engaged in a pattern of activity involving prohibited sexual conduct.
         Therefore, the defendant is a repeat and dangerous sex offender against minors.
         Defendant Boyle engaged in a pattern of activity involving the sexual abuse or
         exploitation of a minor. For years, the defendant engaged in sexual acts with
                          Defendant Boyle live streamed the sexual abuse on the Kik
         Messenger application and shared images of the sexual abuse there as well.
         Therefore, a five-level increase is applied. The offense level shall be 5 plus the
         offense level determined under Chapters Two and Three. In this case, the
         applicable offense level is 47, but will become 52. USSG §4B1.5(b)(1).



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       In the final analysis there is no question that all of the state court acts for which

Boyle was sentenced were woven into the Total Offense Level computed in the PSR; it is

clear that the acts for which Boyle had been sentenced in state court were “part of the

instant offense,” and indistinguishable from ‘relevant conduct.” Nania, supra, 724 F.3d at

833. These were acts for which Boyle was “already being punished by a state sentence.”

Nania, supra, 724 F.3d at 834.

       It is also clear that aside from adding to Boyle’s total offense level, the state court

conviction added 3 points to Boyle’s Criminal History scoring, at PSR ¶120. As noted

above, state sentences can be relevant conduct, or criminal history, but not both. The

district court should have decided one or the other, and not ‘neither,’ but there was no

analysis because the court ignored § 5G1.3. Thus, Boyle requests resentencing pursuant to

§ 5G1.3(b).

       2.     The district court’s sole rationale for imposing a federal sentence
              consecutive to the state court sentence, “a separate course of conduct,”
              was both factually inaccurate and inadequate, therefore the sentence
              was substantively unreasonable, entitling Boyle to resentencing.


       In the event that this court concludes the district court followed sound procedure,

Boyle would then ask for a determination whether that procedure led to its intended

outcome: substantively reasonable punishment. See Gall v. United States, 552 U.S. 38, 51, 128

S.Ct. 586, 169 L.Ed.2d 445 (2007). This review looks for any abuse of discretion. Id.

Furthermore, because Boyle’s sentence fell below the Guidelines’ recommendation, it is

presumed reasonable. See United States v. Klug, 670 F.3d 797, 800 (7th Cir.2012). Boyle bears



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the burden of proving otherwise, United States v. Tanner, 628 F.3d 890, 908 (7th Cir.2010).

         Boyle reasserts that the district court’s “separate course of conduct” explanation for

imposing a sentence that, in its entirety, would keep Boyle in prison until he was 126 years

old was inaccurate. The PSR repeatedly incorporated the state conviction into the relevant

conduct and offense level calculations, which the court accepted, and thereupon should

not have re-categorized into entirely separate conduct.

         Additionally, the court’s naked assertion that it had considered the § 3553(a) factors

(ECF 73, p. 27, 31)(App. 108, 112), without more, is insufficient to assure that the factors

have been adequately considered. United States v. Washington, 739 F. 3d 1080, 1081 (7th Cir.

2014).

         Perhaps, in being so austere, the court was responding to Boyle’s counsel’s

unserious request to consider whether Boyle deserved to breath fresh air, (ECF 73, Tr. 24-

25),6 but herein there was nothing that adequately explains this de facto life sentence in any

manner consistent with the § 3553(a) factors. A release date at age 126 (even at 85% - age

108) is indeed the kind of de facto sentence that has concerned this court. United States v.

Dingle, 862 F.3d 607, 613 (7th Cir. 2017)(release date of late-70s not of concern); see United

States v. Wurzinger, 467 F.3d 649, 652 (7th Cir. 2006)(“[T]he probability that a convict will

not live out his sentence should certainly give pause to a sentencing court.).


         6

         The Court: Having said that, Miss Pollock, it's not my nature normally to respond
         to questions posed to me, but since you did pose it, "The real question: Does Gary
         Boyle deserve a few years of breathing fresh air?" and the answer in my mind is no.
         That would allow him to share the same air as                , the one he sentenced
         to a lifetime of nightmares and self-doubt. ECF 73, at 28; App. 113.

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       And there was nothing demonstrating that the court “appreciated the severity of the

sentence.” United States v. Patrick, 707 F.3d 815, 819-20 (7th Cir. 2013). The court made no

finding that Boyle was a substantial risk to re-offend, or that he demonstrated a lack of

respect for the law. United States v. Volpendesto, 746 F.3d 273, 299 (7th Cir. 2014). In the final

analysis, the court failed to supply an adequate explanation consistent with § 3553(a)

factors, and thus Boyle has met his burden of demonstrating that the below-guidelines

sentence was nevertheless per se unreasonable. United States v. Cunningham, 883 F.3d 690,

701-02 (7th Cir. 2018).

                                          Conclusion

       Because the sentence was imposed in disregard of applicable guidelines provisions;

because the sentence was imposed without adequate explanation consistent with § 3553(a)

factors, and because the sentence is substantively unreasonable, Boyle is entitled to have

his de facto life sentence vacated with remand for resentencing. Upon remand, if granted,

Boyle requests reassignment.

       Dated a Milwaukee, Wisconsin this 20th day of May 2021.

       Respectfully submitted,

       Gary L. Boyle, Defendant - Appellant

       Law Offices of Lew A. Wasserman, S.C.

          Electronically signed by: Lew A. Wasserman

       Lew A. Wasserman SBN 1019200
       Attorney for Defendant - Appellant Gary L. Boyle



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                   Certificate of Compliance with Frap Rule 32(a)(7)

        Pursuant to FED. R. APP. P. 32(a)(7), counsel for defendant-appellant certifies that
this brief complies with the type-volume limitations of FED. R. APP. P. 32(a)(7)(B) because
it contains no more than 14,000 words. Specifically, all portions of the brief other than the
disclosure statement, table of contents, table of authorities and certificates of counsel
contain 6,429 words.

       Dated this 20th Day of May 2021

       Law Offices of Lew A. Wasserman, S.C.,

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       Attorney for Defendant - Appellant Gary L. Boyle


                          Notice of Filing and Proof of Service

        I certify that on May 20, 2021, counsel filed an electronic copy of Appellant’s Brief
in digital media, formatted in PDF, with the Clerk of the United States Court of Appeals
for the Seventh Circuit. All counsel of record are served copies of the same via electronic
filing. Counsel further certifies that he has mailed one copy of this brief to Mr. Boyle by
enclosing it in a mailing package addressed as indicated below with postage prepaid, and
has deposited said package in the U.S. Mail in Milwaukee, Wisconsin.

       Gary L. Boyle Y43159
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      Short Appendix and Certification of Compliance With Circuit Rule 30(d)

      Counsel for Defendant-Appellant, Gary L. Boyle, hereby certifies that the Appendix
includes all materials required by Circuit Rule 30(a) and (b).

       Dated at Milwaukee, Wisconsin this 20th day of May 2021.

       Law Offices of Lew A. Wasserman, S.C.

            Electronically signed by: Lew A. Wasserman

       Lew A. Wasserman SBN 1019200
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 1 at all to deserve this. No matter what, always
 2 remember that you are a beautiful girl. You are
 3 better than anybody else. All you have to do is
 4 try. A        , I'm sorry for what I did to you.
 5            That's all.
 6            THE COURT: All right. The Court having
 7 considered the Presentence Report, the guideline
 8 calculations, the commentaries and attachments and
 9 exhibits filed, the statement of Unity -- I didn't
10 get your last name and the Presentence Report says
11 Henry; is that your last name?
12            MS. HENRY: Yes.
13            THE COURT: Unity Henry, the victim impact
14 statement from the minor child as read by
15 Miss Peirson, the arguments of counsel, the
16 statement of Mr. Boyle, the Court believes -- and
17 the factors as set forth in 3553, the Court believes
18 that the following sentence is sufficient but not
19 greater than necessary to comply with the purpose of
20 the Act:
21            Mr. Boyle, let me start with this: I am
22 going to overlook and give you the one benefit of
23 the doubt today. On your given advice in your
24 statement of allocution to                         , the last
25 person she needs any further advice from is you.

                          Nancy Mersot, CSR-RPR
                      United States District Court
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 1            Having said that, Miss Pollock, it's not my
 2 nature normally to respond to questions posed to me,
 3 but since you did pose it, "The real question: Does
 4 Gary Boyle deserve a few years of breathing fresh
 5 air?" and the answer in my mind is no. That would
 6 allow him to share the same air as                          , the
 7 one he sentenced to a lifetime of nightmares and
 8 self-doubt.
 9            But I do not have to give 2,760 months to
10 accomplish the goals of sufficient but not greater
11 than necessary to comply with the purpose of the
12 Act.
13            The fact of the presence of the minor child
14 here today, now still only ten years old, shows more
15 maturity on her part; shows more courage on her
16 part; shows more self-respect on her part; shows
17 more respect for others on her part; shows more
18 self-worth on her part; and shows me what I hope for
19 her, a future that someday will be free from the
20 demons that Mr. Boyle has in himself.
21            I would say, young lady, in your mother's
22 statement she said that you inspire her. And I will
23 tell you your presence here today inspires many and
24 should inspire all young people that have been
25 subjected to people like Mr. Boyle. But I know that

                          Nancy Mersot, CSR-RPR
                      United States District Court
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 1 is not what you wanted. That all you wanted is to
 2 have a childhood like millions of other young
 3 people, free from the subjections of the Mr. Boyles
 4 of the world.
 5            So I can only say from here, and it's easier
 6 said that done, please, Unity, try not a blame
 7 yourself.
 8            Young lady, please try not to blame
 9 yourself. You did not create or enable the
10 circumstances where you found yourselves in the
11 hands of somebody like Mr. Boyle.
12            The defendant is a 36-year-old, maybe 37
13 now, with a history of depression and anxiety.
14            He reports, and it is reported to me, he's
15 physically abused by his mother and father, sexually
16 abused by his brother, cousin, and babysitter. He
17 reported to the psychologist that he was happy to be
18 in custody so he couldn't abuse                          again.
19            He has been regularly employed since 2008.
20            The conduct occurred on February 4, 2019,
21 and February 21, 2019; February 4 being Counts 1
22 through 7; February 21 being Count 8.
23            He was arrested on March 22, 2019.
24            In between, on February 22, 2019, he was
25 charged in Lincoln County Circuit Court for conduct

                          Nancy Mersot, CSR-RPR
                      United States District Court
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 1 that occurred between October 10, 2010, and February
 2 3, 2019; that he committed an act of sexual
 3 penetration with a person under the age of 13, for
 4 which he pled guilty and received 40 years in the
 5 Illinois Department of Correction on September 2,
 6 2020, other charges were dismissed as part of the
 7 plea.
 8            The victim impact that I heard today comes
 9 from the mother, comes from the young lady, both now
10 carrying lifetimes of guilt, blaming themselves.
11 The mother blaming herself for not being able to
12 protect her children, which I've already addressed.
13 The young lady's statement comes from                           ,
14 the one that he sexually abused and streamed for all
15 of his sick and perverted friends on Kik Messenger
16 to see, for her to live with forever. Her statement
17 was read to the Court.
18            Mr. Boyle, you sentenced                          to
19 life, a life questioning herself, asking herself
20 what she did wrong. You deserve the same sentence
21 so then you can consider what you did wrong. It is
22 a point --
23            Let me say to Unity and to the young lady
24 victim, I cannot protect you from everybody for the
25 rest of your life, but I can protect you from

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 1 Mr. Boyle.
 2            The Court considers all of the 3553 factors,
 3 Mr. Boyle's history and characteristics, the factors
 4 even in Count 8, the images of -- that were
 5 perpetuated were not enough; he needed to stream his
 6 own sexual abuse towards                       .
 7            So, I believe that a sentence on Counts 1
 8 through 7 of 360 months or 30 years on each count is
 9 appropriate.
10            I do understand, Miss Peirson, your points
11 about separate harms, different corresponding harms,
12 but it did occur over the same day and over the
13 course of the same day. And despite the breakup of
14 his streaming, I don't think a consecutive sentence
15 on each one of those would be appropriate, although
16 would certainly be acceptable, I guess.
17            So it's 30 months -- or 360 months, 30 years
18 on each of Counts 1 through 7 concurrent with each
19 other.
20            Count 8 sets forth a completely different
21 count on a completely different day and a completely
22 different time period; to subject other young people
23 who have been abused to the perverted and distorted
24 and sick nature of those seeking the internet for
25 their satisfaction. So I believe a sentence of 20

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 1 years or 240 months on Count 8 is appropriate and
 2 that should run consecutive -- that should run
 3 consecutive to Counts 1 through 7.
 4            So that is 600 months or 50 years.
 5            And there could be no question that the
 6 conduct in 19-CF-300, the sexual predator conviction
 7 of a child under 13, for which he received 40 years,
 8 was a separate course of conduct; and, therefore,
 9 the 600 months imposed shall run consecutive to the
10 Macon County case in 19-CF-300.
11            If he served that entire sentence, that
12 would be a sentence of 90 years or nearly 90 years.
13 If he manages to live to be a 126 years old, then he
14 can have that fresh air that he requests today.
15            The Court will impose conditions of
16 supervised release as set forth in the Presentence
17 Report.
18            Miss Pollock, is there a reason to read or
19 recite or summarize them for your client?
20            MS. POLLOCK: He is aware of them, Your
21 Honor. We waive the reading.
22            THE COURT: Mr. Boyle, have you reviewed the
23 proposed conditions of supervised release that I am
24 going to impose with -- have you reviewed those with
25 Miss Pollock? They are in the Presentence Report.

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 1            THE DEFENDANT: Yes, Your Honor.
 2            THE COURT: Do you believe any further
 3 reading or explanation or summary of them is
 4 required?
 5            THE DEFENDANT: I believe no.
 6            THE COURT: Is that no?
 7            THE DEFENDANT: No.
 8            THE COURT: All right. I will find no
 9 ability to pay a fine, so no fine is imposed.
10            If you are released from custody, you will
11 serve a term of ten years of supervised release on
12 each count to run concurrent with each other.
13            While on supervised release, not commit
14 another federal, state, or local crime.
15            Not possess a controlled substance.
16            Submit to one drug test within 15 days of
17 release from imprisonment and at least two
18 thereafter as directed by probation.
19            Cooperate in the collection of DNA as
20 directed by probation or the Bureau of Prisons.
21            And, in addition, I've carefully considered
22 the conditions as proposed in the PSR. I find that
23 they are appropriate. I find there are no
24 objections to them. I find that they are a
25 necessary part of the sentence and will maximize the

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 1 possibility that Mr. Boyle would successfully
 2 complete his term of supervised release if he makes
 3 it to that point. I order that they be made part of
 4 the formal sentence.
 5            I will recommend that you serve your
 6 sentence in a facility as close to your family --
 7 well, let me ask Miss Pollock where you -- if
 8 there's a recommendation.
 9            MS. POLLOCK: There is a recommendation to
10 USP Marion, Your Honor.
11            THE COURT: I will recommend that you serve
12 your sentence in USP Marion.
13            I recommend that you serve it in a facility
14 that will allow you to participate in a sex offender
15 treatment program and maximize your exposure to
16 educational and vocational opportunities.
17            Special assessment of $100 is imposed on
18 each count for a total of $800.
19            And order proceeds forfeited to the United
20 States that were derived by the conduct under Counts
21 1 through 7 that were referenced in the Final Order
22 of Forfeiture.
23            Is there anything else the parties believe
24 needs to be addressed before I give appeal rights?
25            MS. POLLOCK: No, Your Honor.

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 1            MS. PEIRSON: Not from the government, Your
 2 Honor.
 3            THE COURT: You have appeal rights.
 4            Mr. Boyle, you have 14 days to do so or ask
 5 Miss Pollock to do so on your behalf.
 6            I will be in recess. Thank you.
 7            (Hearing concluded, 1:50 p.m.)
 8                                ****
 9
10        I certify that the foregoing is a correct
11 transcript from the record of proceedings in the
12 above-entitled matter.
13
14
15 s/Nancy Mersot                Date: February 16, 2021
16 Court Reporter
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